     Case 3:16-cv-01025-L Document 170 Filed 04/10/18              Page 1 of 3 PageID 2894


                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                    Dallas Division

 ASSOCIATED RECOVERY, LLC,                      §
      Plaintiff,                                §
                                                §
 v.                                             §                    Case No. 3:16-CV-1025-L
                                                §            (Consolidated with Civil Action Nos.
                                                §            3:17-CV-424-L and 3:17-CV-651-L)
 JOHN DOES 1-44, et. al.,                       §
      Defendants.                               §


                 NOTICE OF AND MOTION FOR VOLUNTARY DISMISSAL


TO THE HONORABLE COURT:

        COMES NOW, Plaintiff Associated Recovery, LLC, and would show the Court the

following:


1.      Effective April 3, 2018, Plaintiff Associated Recovery, LLC, entered into an agreement

with a Delaware corporation which is not a party in this civil action. Under the terms of such

agreement, Plaintiff Associated Recovery, LLC, is obligated to dismiss all claims it is asserting

against Defendants Adam Strong and Strong, Inc. with prejudice.


2.      Neither Defendant Adam Strong, nor Defendant Strong, Inc. has asserted any type of

counter-claim against Plaintiff Associated Recovery, LLC.


3.      Plaintiff Associated Recovery, LLC, no longer wishes to prosecute the claims it is asserting

against Defendants Adam Strong or Strong, Inc.




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NOTICE OF AND MOTION FOR VOLUNTARY DISMISSAL                                              Page 1 of 3
  Case 3:16-cv-01025-L Document 170 Filed 04/10/18                  Page 2 of 3 PageID 2895


       WHEREFORE, PREMISES CONSIDERED, Plaintiff Associated Recovery, LLC,

respectfully request this Honorable Court to:


       1.      Dismiss all claims Plaintiff Associated Recovery, LLC, is asserting against

       Defendants Adam Strong and Strong, Inc. with prejudice; and


       2.      Grant such other relief, both special and general, at law and in equity to which

       Plaintiff Associated Recovery, LLC is justly entitled.


                                                Respectfully submitted,

                                                /s/ Jack T. Jamison
                                                JACK T. JAMISON
                                                State Bar No. 10562550
                                                1509 Main St., No. 205
                                                Dallas, Texas 75201
                                                Tel: (469) 802-9451
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                                                ATTORNEY FOR PLAINTIFF
                                                ASSOCIATED RECOVERY, LLC




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NOTICE OF AND MOTION FOR VOLUNTARY DISMISSAL                                          Page 2 of 3
  Case 3:16-cv-01025-L Document 170 Filed 04/10/18                  Page 3 of 3 PageID 2896


                                  CERTIFICATE OF SERVICE

       On the 10th day of April, 2018, a true and correct copy of the foregoing document was
electronically submitted to the Clerk of Court for the United States District Court for the Northern
District of Texas, using the ECF system. I hereby certify that I have served the lead counsel for
each Defendant and each pro se Defendant through the Court’s electronic filing and service
system.

                                              /s/ Jack T. Jamison
                                              JACK T. JAMISON

                                              ATTORNEY FOR PLAINTIFF
                                              ASSOCIATED RECOVERY, LLC




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NOTICE OF AND MOTION FOR VOLUNTARY DISMISSAL                                              Page 3 of 3
